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                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

                                              )
  Taariq Vanegas,                             )    Case No. 0:19-cv-01878-MJD-LIB
                                              )
                            Plaintiff,        )
                                              )
  vs.                                         )        SECOND AMENDED
                                              )      NOTICE OF HEARING ON
  Carleton College,                           )       MOTION TO DISMISS
                                              )
                         Defendant.           )
                                              )

TO:     Plaintiff and his attorney, Beau D. McGraw, McGraw Law Firm, PA, 10390 39th
        Street N., Lake Elmo, MN 55042:

        PLEASE TAKE NOTICE that the above-titled motion is being filed in

accordance with the directions received from the presiding judge’s courtroom deputy:

 A hearing for the above-titled motion will take place:

        On: December 9, 2019
        At:   1:30 p.m.
        In:   Devitt Courtroom
        At: United States District Court, 316 North Robert Street, St. Paul, MN 55101
        Before: Leo I. Brisbois, Magistrate Judge

Defendant Carleton College will move the Court for an Order dismissing Plaintiff’s

Complaint with prejudice.

                                            FAEGRE BAKER DANIELS LLP

Dated: November 14, 2019                    /s/ Sean R. Somermeyer
                                            Sean R. Somermeyer, 391544
                                             Sean.Somermeyer@FaegreBD.com
                                            Sara L. Lewenstein, 400160
                                             Sara.Lewenstein@FaegreBD.com
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                                        Attorneys for Defendant Carleton College




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